                                                                                           03/04/2019
                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                  LYNCHBURG DIVISION

   ROBERT E. LEE SUPINGER, JR.,                         )
                                                        )
                                                        )
   Plaintiff,                                           )   Civil Action No.: 6:15-cv-17
                                                        )
   v.                                                   )
                                                        )
   COMMONWEALTH OF VIRGINIA, et al.,                    )   By: Hon. Robert S. Ballou
                                                        )   United States Magistrate Judge
                                                        )
   Defendants.                                          )

                               REPORT AND RECOMMENDATION

          Plaintiff Robert E. Lee Supinger, Jr., (“Supinger”) filed this action related to grievances

   alleged during and after his employment with the Virginia Department of Motor Vehicles

   (“DMV”). Supinger initially alleged fourteen claims against multiple Defendants associated with

   the DMV. Supinger sought injunctive relief and reinstatement; $5,000,000 in compensatory

   damages; $5,000,000 in liquidated/punitive damages; $250,000 in back pay; $1,000,000 in front

   pay; and pre-judgment interest, costs, and attorneys’ fees. Dkt. 23. The district court denied

   qualified immunity and granted Supinger summary judgment as to the due process claims, but

   dismissed all other asserted claims. The Fourth Circuit affirmed the district court in an

   interlocutory appeal and remanded the case for damages. Thereafter, the parties reached a

   confidential settlement agreement following mediation to resolve all claims. There can be no

   doubt that this contentious case was hard-fought at every step of the litigation. Ultimately,

   Supinger secured a substantial settlement and is the prevailing party, thus entitling him to

   attorneys’ fees under 42 U.S.C. § 1988.




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               The district court has referred to me Supinger’s motions for attorneys’ fees and costs.

   Dkts. 211, 213. Supinger now seeks $806,882.50 in attorney’s fees and $3,415.51 in costs, plus

   interest at the judgment rate. Dkt. 212. Supinger seeks additional attorney’s fees in the amount of

   $37,740.00 incurred from additional work since filing his original motion, for a total claim of

   attorneys’ fees of $844,622.50.1 Dkt. 223. Specifically, the petition includes fees from both

   Supinger’s original counsel and the attorneys who prosecuted the case when the original counsel

   developed a conflict and had to withdraw.

         Attorney            Hours Billed     Additional Hours Billed for Fee Petition         Rate     Total Fees Sought
     Terry N. Grimes           1596.7                          78.1                           $400.00      $669,920.00
   Brittany M. Haddox           377.8                          11.3                           $250.00       $97,275.00
    Paralegal Services           73.9                           0                             $125.00        $9,237.50

   Melvin E. Williams             83.4                            10.5                        $350.00       $32,865.00
    Micah D. Wright               59.5                             0                          $225.00       $13,387.50
   Paralegal Services              9.4                             0                          $125.00        $1,175.00

       Andrew D. Meyer           83.05                               0                        $250.00       $20,762.50
                                                                                              TOTAL:       $844,622.50

               Defendants DMV, Richard Holcomb, Joseph Hill, and Jeannie Thorpe (collectively,

   “Defendants”) partially oppose the motion for attorneys’ fees and expenses and request that the

   Court substantially reduce any award. Dkt. 221. Having considered the record, legal arguments

   submitted, and applicable law, I recommend that the District Court GRANT Supinger’s Motion

   for Attorneys’ Fees (Dkt. 211), and Motion for Bill of Costs (Dkt. 213), and award $488,962.60

   in attorneys’ fees and $2,704.90 in costs, for a total award of $491,667.50.

          I.       Factual and Procedural Background2

               Plaintiff Robert E. Lee Supinger, Jr., was a former Assistant Special Agent in Charge at

   the Virginia Department of Motor Vehicles (“DMV”) Lynchburg office. Supinger was unhappy

   1
       Supinger’s reply brief incorrectly states the total as $844,532.50. Dkt. 223, at 25.
   2
    The facts of this case, particularly as applied to Supinger’s procedural due process claim, are fully set forth in the
   District Court’s Memorandum Opinion dated July 20, 2016. Dkt. 140.

                                                                 2

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   with several aspects of his workplace at the DMV, which he raised with his direct supervisors

   and the DMV administration. He was suspended on February 28, 2012, and terminated on April

   9, 2013. Supinger filed this action on July 8, 2015, asserting fourteen claims against various

   defendants related to his employment with the DMV and subsequent termination, most of which

   the District Court dismissed for failure to state a claim or granted summary judgment for

   Defendants.3 Relevant here is Supinger’s claim under 42 U.S.C. § 1983 that Defendants denied

   him procedural due process related to his efforts to grieve the termination of his employment in

   violation of the Fifth and Fourteenth Amendments against four named Defendants.4 The District

   Court granted summary judgment in favor of Supinger on July 20, 2016, on his procedural due

   process claim, finding that Supinger’s due process rights were violated in connection with his

   termination and the subsequent grievance process. Dkt. 141. Defendants filed an interlocutory

   appeal, arguing that they were entitled to qualified immunity. Dkt. 150. The Fourth Circuit

   affirmed the judgment and remanded this action to the District Court on the question of damages.

   Dkt. 198. The parties thereafter resolved the damages question in mediation. Dkt. 212, 1–2.

   Supinger’s motions for attorneys’ fees and costs pursuant to 42 U.S.C. § 1988 and Federal Rule




   3
    Claims included: Count I – Title VII national origin and racial discrimination; Count II – Title VII gender
   discrimination; Count III – Title VII retaliation; Count IV – First Amendment retaliation; Count V – procedural due
   process violations; Count VI – supervisory liability; Count VII - racial discrimination under 42 U.S.C. §§ 1981 and
   1983; Count VIII – violation of Government Collection and Dissemination Practices Act; Count IX – violation of
   Driver’s Privacy Protection Act; Count X – violation of Virginia Whistleblower Protection Act; Counts XI, XII,
   XIII – various state law claims; Count XIV – tortious interference with employment contract expectancy. Dkt. 23.
   The District Court granted Defendants’ motion to dismiss Counts II, IV, VIII, IX, X, XI, XIII, XIV, and Supinger
   withdrew Count XII. Dkt. 82. The District Court granted summary judgment on all remaining counts, including
   Counts I, II, III, V (in part), and VI. Dkt. 197.
   4
     The particular Defendants for this claim originally included DMV, Richard Holcomb, Joseph Hill, and Jeannie
   Thorpe. Dkt. 23. The parties consented to dismissal of the due process claim against Tom Penny, as he was not
   involved in the procedural due process violation. Dkt. 196, at 2.

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   of Civil Procedure 54(d) followed. Dkts. 211, 213. Supinger retained two sets of counsel in this

   case, and the fee petition accounts for all attorneys that were involved.5

       II.       Analysis

             “In any action or proceeding to enforce a provision of section[] . . . 1983 . . . of this title,”

   section 1988 permits “the court, in its discretion, [to] allow the prevailing party . . . reasonable

   attorneys’ fee[s] as part of the costs.” 42 U.S.C. § 1988(b). The plaintiff bears the burden of

   demonstrating that the amount of fees sought is reasonable. See Hensley v. Eckerhart, 461 U.S.

   424, 437 (1983). The parties agree here that Supinger is the prevailing party for purposes of an

   award of attorneys’ fees and costs. See Dkt. 224.

       A. Lodestar Calculation

             The Fourth Circuit follows a three-step process to determine a reasonable attorneys’ fee

   award. McAfee v. Boczar, 738 F.3d 81, 88 (4th Cir. 2013), as amended (Jan. 23, 2014). First, the

   court determines the lodestar figure, which is calculated by multiplying the reasonable number of

   hours expended by the reasonable hourly rate. Id. Courts evaluate the reasonableness of the hours

   expended and rates sought on fee petitions under the lodestar method using the factors identified

   in Johnson v. Georgia Highway Express, Inc., 488 F.2d 714, 717–19 (5th Cir. 1974), as adopted

   by Barber v. Kimbrell’s Inc., 577 F.2d 216, 226 n.28 (4th Cir. 1978). See Robinson v. Equifax

   Info. Servs., 560 F.3d 235, 243–44 (4th Cir. 2009).6 A strong presumption exists that a properly


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    Terry Grimes and Brittany Haddox began work on this case in January 2016, as Mel Williams and Andrew Meyer
   withdrew from their representation because of a conflict of interest. Dkts. 68, 72, 73.
   6
    The Fourth Circuit has construed the Johnson factors as: (1) the time and labor expended; (2) the novelty and
   difficulty of the questions raised; (3) the skill required to properly perform the legal services rendered; (4) the
   attorneys’ opportunity costs in pressing the instant litigation; (5) the customary fee for like work; (6) the attorneys’
   expectation at the outset of the litigation; (7) the time limitations imposed by the client or circumstances; (8) the
   amount in controversy and the results obtained; (9) the experience, reputation, and ability of the attorney; (10) the
   undesirability of the case within the legal community in which the suit arose; (11) the nature and length of the
   professional relationship between attorney and client; and (12) attorneys’ fees awards in similar cases. Robinson,
   560 F.3d at 243–44.

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   calculated lodestar figure is reasonable. Perdue v. Kenny A. ex rel. Winn, 559 U.S. 542, 554

   (2010). That presumption may be overcome only in rare circumstances in which the lodestar

   does not adequately take into account a factor that may properly be considered in determining a

   reasonable fee. Id. Second, the court subtracts fees for hours spent on unsuccessful claims related

   to successful claims. McAfee, 738 F.3d at 88. Finally, the court awards a percentage of the

   remaining amount to the plaintiff, depending on the degree of success of the prevailing party’s

   claims. Id.

                 i.     Hourly Rates

           Supinger seeks rates of $400.00 per hour for attorney Terry Grimes and $250.00 per hour

   for attorney Brittany Haddox.7 Dkt. 212, at 18. The hourly rate included in an attorneys’ fees

   request must be reasonable, which is generally determined by the prevailing market rates in the

   relevant legal community for the type of work for which an award is sought. McAfee, 738 F.3d

   at 91. The relevant community is usually that in which the district court sits. Rum Creek Coal

   Sales, Inc. v. Caperton, 31 F.3d 169, 179 (4th Cir. 1994). Determining the prevailing rate in the

   relevant community “may be established through affidavits reciting the fees of counsel with

   similar qualifications, information concerning fee awards in similar cases, and/or specific

   evidence of counsel’s billing practice.” Freeman v. Potter, No. 7:04cv00276, 2006 WL 2631722,

   at *4 (W.D. Va. Sept. 13, 2006) (citing Spell v. McDaniel, 824 F.2d 1380, 1402 (4th Cir. 1987)).

           This case was filed in the Lynchburg Division of the Western District of Virginia.

   Supinger states that “[f]ew employment discrimination cases are successfully prosecuted in the

   [W]estern [D]istrict of Virginia.” Dkt. 212, at 5. Because Supinger agrees that he prosecuted this




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    Defendants do not contest the hourly rates for paralegals ($125.00), Melvin E. Williams ($350.00), Micah D.
   Wright ($225.00), or Andrew D. Meyer ($250.00). Dkt. 212, at 18.

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   case in the Western District of Virginia, I find the relevant market is Central and Southwest

   Virginia.

          Supinger supports his attorneys’ rates by focusing on three Johnson factors: the skill

   required by his attorneys, the difficulty of the questions raised in this litigation, and (to some

   extent) the results obtained. In addition to claiming that few employment discrimination cases

   are successful in this District, Supinger further claims that an award of summary judgment,

   affirmed by the Fourth Circuit, is “extremely rare,” and that the law in the area of employment

   law is so fluid that it changes daily and requires attorneys to constantly research appellate

   decisions. Dkt. 212, at 5. Supinger, however, fails to include any evidence for those contentions.

   I do not find that this area of the law is so complicated as to require a premium on the prevailing

   market rate simply because it is rapidly changing. Skilled attorneys must routinely keep

   themselves apprised of changes in their areas of practice as part of their ongoing duties to their

   clients and the courts.

          Supinger includes a number of affidavits from other employment law attorneys who are

   familiar with Mr. Grimes and Ms. Haddox. Those attorneys confirm the rates for Mr. Grimes and

   Ms. Haddox in this case. See Dkt. 212, Ex. 2. Recent fee awards in similar cases are helpful in

   shedding additional light on the rates. Mr. Grimes and Ms. Haddox were counsel for a plaintiff in

   a recent Title VII civil rights case, in which Judge Conrad found that rates of $350.00 and

   $225.00 for Mr. Grimes and Ms. Haddox, respectively, to be reasonable after considering their

   backgrounds and similar affidavits. Brown v. Mountain View Cutters, LLC, 222 F. Supp. 3d

   504, 513 (W.D. Va. 2016). Additionally, in a companion case to Supinger’s arising from (at least

   partially) the same set of facts, Mr. Grimes submitting an affidavit in which he endorsed a fee of

   $350.00 for lead counsel and $225.00 for counsel’s associate as reasonable for employment



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   lawyers practicing in the Western District of Virginia. See Pl.’s Brief/Memorandum in Support

   of Motion for Attorney Fees and Costs, Wootten v. Commonwealth of Virginia, 6:14-cv-13

   (W.D. Va. Jan. 13, 2017), Dkt. 243-1, at 14–18.

            After reviewing fee awards in similar cases, and taking into account employment practice

   in the relevant legal market, I find that an hourly rate of $350.00 for Mr. Grimes and $225.00 for

   Ms. Haddox is reasonable for their work performed in this case.8

                ii.      Reasonable Hours

            Defendants argue that Supingers’s attorneys’ fee application should be drastically

   reduced due to excessiveness, vagueness in time entries, block billing, and duplication of efforts.

                              1. Excessiveness, Vagueness, and Block Billing

            Defendants contend that Supinger’s counsel spent excessive amounts of time preparing

   for matters in which they had limited roles or that did not require extensive preparation;

   submitted many vague time entries such that it is not possible to determine if the time spent on

   various tasks is reasonable; and inappropriately lumped multiple tasks into single, undivided

   amounts of time. As a result, Defendants contend that the Court cannot assess whether the

   attorneys spent an appropriate amount of time on the case and thus whether the fee request is

   reasonable. Supinger argues that time is compensable as long as billing statements meet the basic

   requirement of listing the hours and identifying the general subject matter of time expenditures.

   Dkt. 223, at 13. He also contends that none of the entries are vague or inaccurate, and revealing

   any more detail in the entries would reveal information protected by attorney-client privilege. Id.

   at 16. In light of these arguments and the materials before me, I recommend an overall 15%

   reduction for a combination of excessive billing, vague time entries, and block billing.


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    Notably, the reduction in rates more accurately matches the rates of original counsel in this case: Melvin Williams
   ($350.00), Andrew Meyer ($250.00), and Micah Wright ($225.00). Dkt. 212, at 18.

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             “Counsel for the prevailing party should make a good faith effort to exclude from a fee

   request hours that are excessive, redundant, or otherwise unnecessary[.]” Hensley v. Eckerhart,

   461 U.S. 424, 434 (1983). Courts have found that “[l]umping and other types of inadequate

   documentation are a proper basis for reducing a fee award because they prevent an accurate

   determination of the reasonableness of the time expended in a case.” Guidry v. Clare, 442 F.

   Supp. 2d 282, 294 (E.D. Va. 2006). “The court’s role is not to labor to dissect every individual

   entry to hypothesize if the different tasks in the same entry could reasonably result in the

   requested time.” Project Vote/Voting for Am., Inc. v. Long, 887 F. Supp. 2d 704, 716 (E.D. Va.

   2012). Courts reduce the fee award in such circumstances by either identifying specific hours

   that are not sufficiently documented or by reducing the overall fee award by a fixed percentage

   based on the trial court’s familiarity with the case, its complexity, and the counsel involved. Id.

   at 716.

             There can be no doubt that this case required significant time and labor, but the records

   supporting Supinger’s fee petition do not justify an award for the full amount he requests. First,

   Supinger has provided billing records that are replete with entries that appear excessive on their

   face because of the vagueness of the entries. For example, Ms. Haddox spent 4.4 hours

   “[r]eviewing filings on ECF system” (Dkt. 212-1, at 7), and 3.1 hours “[r]eading defendants’

   appeal opening brief” (id. at 24). Mr. Grimes also submitted entries that included, for example:

   6.9 hours to “[b]egin review of Supinger file from opposing counsel” (id. at 9); 4.5 hours to

   “[r]eview brief filed by counsel for Wootten” (id. at 21); 8.5 hours to “review deposition

   exhibits” (id. at 26); and 6.3 hours for “[e]mails to and from counsel” (id. at 28). A more stark

   example is the collection of twenty-three entries spanning three pages for a total of 144.6 hours

   that Mr. Grimes billed for “review” of discovery documents, transcripts, or briefs. Id. at 32–34.



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   Additionally, Mr. Grimes billed 34.9 hours to draft Supinger’s attorneys’ fee petition.9 Id. at 38–

   39. Without more detailed descriptions, it is not possible to determine whether the time spent on

   those and similar tasks is appropriate. Finally, for Richard Holcomb’s deposition, Supinger seeks

   compensation for 22.7 hours of preparation (Dkt. 212-1, at 12, 17), but only 3.2 hours for the

   actual deposition (id. at 17). These entries give no insight as to the particular tasks performed

   beyond reviewing, drafting, or preparing, or the specific reasons for such time spent on these

   items. The apparent excessiveness in the time entries weighs in favor of reducing the amount of

   fees awarded.

           Vague descriptions plague Supinger’s billing records. “[T]he use of excessively vague

   time descriptions is a generally disfavored billing practice. Such descriptions ‘inhibit the court’s

   reasonableness view’ and also ‘justify a percentage reduction in the fee award.’” Brown, 222 F.

   Supp. 3d at 514 (citing Ashley II of Charleston, LLC v. PCS Nitrogen, Inc., No. 2:05–2782,

   2015 WL 4469765, at *10 (D.S.C. July 21, 2015) (citing Local 32B-32J, Service Employees

   Intern. Union, AFL-CIO v. Port Authority of New York and New Jersey, 180 F.R.D. 251, 253

   (S.D.N.Y. 1998) (reducing award by 20% for vague time entries, such as “preparation for trial”

   and “research and draft papers”))); accord Rum Creek Coal Sales, Inc. v. Caperton, 31 F.3d 169,

   180 (4th Cir. 1994) (“We have frequently exhorted counsel to describe specifically the tasks

   performed, a practice which is especially necessary when we review an award in a case where

   the plaintiff has not prevailed on all the claims.”).

           The billing entries are replete with vague descriptions. For example, Mr. Grimes entered

   1.3 hours for “legal research” (Dkt. 212-1, at 9), and 5.7 hours to “digest transcripts” (id. at 18).

   More problematic is Mr. Grimes’s constant use of “prepare for deposition,” “work on


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    In his reply to Defendants’ motion, Mr. Grimes and Ms. Haddox also claim an additional 89.4 hours for work done
   on the reply brief. Dkts. 223, at 25; 223-3, at 6.

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   transcripts,” “work on appeal,” “prepare for trial,” “legal research,” “work on discovery,” and

   “work on appellate brief.” Id. at 3, 5–6, 8–27, 32. Ms. Haddox, although not nearly as

   consistently as Mr. Grimes, also submitted vague time entries, including “preparation for

   depositions.” Id. at 16. While these sorts of entries may suffice for short-lived cases, this

   litigation has continued for years and amassed 235 docket entries. Furthermore, failing to

   specifically describe the tasks the attorneys performed requires this Court to “labor to dissect”

   the individual entries to see how they match up with the various claims and phases of litigation.

   The Fourth Circuit in Rum Creek recognized this problem and implored attorneys to carefully

   record their time, particularly in this type of case in which Supinger prevailed on only one of his

   original fourteen claims. Considering all of the above, I recommend that the regular vagueness of

   time entries in the billing records warrants a further reduction in the amount of fees awarded.

          Finally, Defendants argue that Supinger’s counsel engaged in “block billing,” or the

   practice of lumping multiple tasks into the same billing entry. Courts in the Fourth Circuit have

   routinely held that block billing does not provide the court with a sufficient breakdown to

   support an attorneys’ fee request. “Inadequate documentation includes the practice of grouping,

   or ‘lumping,’ several tasks together under a single entry, without specifying the amount of time

   spent on each particular task.” Guidry v. Clare, 442 F. Supp. 2d 282, 294 (E.D. Va. 2006).

   “Lumping and other types of inadequate documentation are thus a proper basis for reducing a fee

   award because they prevent an accurate determination of the reasonableness of the time

   expended in a case.” Id. at 294.

          There are multiple block billing entries in Supinger’s billing records. Mr. Grimes

   frequently combined multiple tasks into one billing entry. For example, Mr. Grimes billed 7.3

   hours to “[p]repare for depositions of Elizabeth Jensen, John Dawson, Thomas Dash and Ronna



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   Howard” (Dkt. 212-1, at 16); 3.9 hours to “[r]eview VRS member benefits profile, 2010 W-2

   and earnings summary, 2011 W-2 and earnings summary, 2012 tax return, and work on damages

   calculations” (id. at 23); 6.2 hours to “[r]eview DMV’s opposition to consolidation in Wootten

   case and work on reply memorandum and email to counsel concerning consolidation” (id. at 32);

   and 5.3 hours to “[r]eview order from Judge Moon in Stultz and research concerning question

   posed by the Court and conf[e]rence with counsel to discuss these matters” (id. at 36). While not

   nearly as frequently as Mr. Grimes, Ms. Haddox occasionally lumped together her billing entries.

   For example, she submitted one entry for 2.7 hours for “oral argument of summary judgment

   motions in Stultz in preparation for our upcoming motions and hearings and reviewing letter

   filed by defendants concerning upcoming hearing with Judge Ballou concerning discovery

   concerns” (id. at 20), and another for 7.5 hours for “[r]esearch and work on drafting

   memorandum in opposition to defendants’ motion for summary judgment” (id. at 29).

   Accordingly, I recommend an additional reduction in the fees awarded.

           In light of Supinger’s attorneys’ excessive and vague time entries and occasional block

   billing, I recommend a 15% reduction of hours sought by Mr. Grimes and Ms. Haddox in this

   case.

                         2. Duplication of Efforts

           Defendants also contend that Supinger seeks fees for tasks in which his counsel

   unnecessarily duplicated efforts or prepared for tasks in which they did not participate. When

   reviewing the hours expended, the Court must focus on the reasonableness of the division of

   responsibility between counsel. Reduction of hours is warranted only if counsel unreasonably

   duplicate each other’s work. See Project Vote/Voting for Am., Inc. v. Long, 887 F. Supp. 2d

   704, 714 (E.D. Va. 2012). “[T]here is nothing inherently unreasonable about a client having



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   multiple attorneys.” McAfee v. Boczar, 906 F. Supp. 2d 484, 501 (E.D. Va. 2012), vacated and

   remanded on different grounds, 738 F.3d 81 (4th Cir. 2013), as amended (Jan. 23, 2014) (quoting

   Norman v. Housing Auth. of Montgomery, 836 F.2d 1292, 1302 (11th Cir. 1988)). However, it

   may be unreasonable for more than one attorney to attend depositions. The Fourth Circuit has

   noted its sensitivity to “the need to avoid use of multiple counsel for tasks where such use is not

   justified by the contributions of each attorney” because “[g]eneralized billing by multiple

   attorneys on a large case often produces unacceptable duplication.” Rum Creek Coal Sales, Inc.

   v. Caperton, 31 F.3d 169, 180 (4th Cir. 1994).

          Defendants argue that Supinger’s counsel spent a disproportionate amount of time

   preparing for proceedings like depositions and hearings without meaningfully participating in

   those proceedings. Dkt. 221, at 7. In addition to that general argument, Defendants claim

   specifically that one of Supinger’s attorneys cannot bill for preparing for a deposition if another

   attorney actually attended the deposition. Dkt. 221, at 8.

          It is not unreasonable for attorneys working on the same case to divide work for a

   deposition. For example, Mr. Grimes billed 7.3 hours for preparation for depositions of Elizabeth

   Jensen, John Dawson, and Thomas Dash, but Ms. Haddox was the one to attend the deposition.

   Ms. Haddox also recorded her time spent on the dates of these depositions as “preparing for

   deposition.” Dkt 212-1, at 16. However, having multiple attorneys attend hearings or depositions

   when only one is warranted by the proceeding tends to be duplicative. For example, Mr. Grimes

   and Ms. Haddox both billed time for attending the depositions of Steve Pike and Michael Bolton

   (2.5 for Grimes, and 2.5 for Haddox) (Dkt. 212-1, at 17), yet it appears unreasonable to have

   both attorneys present at two depositions that, combined, lasted no more than two and a half

   hours. As another example, Ms. Haddox submitted time entries for traveling to and attending the



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   oral argument before the Fourth Circuit on October 25, 2017, but Ms. Haddox did not assist in

   the argument.10 Dkt. 221, at 9; 212-1, at 36. Additionally, the amount of hours spent on briefing

   by both Mr. Grimes and Ms. Haddox is evidence that Supinger’s attorneys did not handle the

   case efficiently. For example, both attorneys amassed 115 hours working on the same motion

   and memorandum in opposition to defendants’ motions for summary judgment. Dkt. 212-1, at

   29–30. Both also worked on a “reply brief” for at least 58 hours combined (which seems

   duplicative in light of the vague entries that do not describe each attorney’s specific work on that

   task). See id. at 31.

           Furthermore, while Defendants did not raise this issue, I recognize that Supinger retained

   Mr. Grimes and Ms. Haddox after his original counsel, Mel Williams, developed a conflict. Mr.

   Grimes and Ms. Haddox appropriately billed timed for getting up to speed on the case. For

   example, Mr. Grimes recorded time for “[reviewing] electronic file on ECF” and “[beginning]

   review of Supinger file from opposing counsel,” while Ms. Haddox similarly recorded time for

   “[r]eviewing files on ECF system” and “[r]eviewing all expert reports from Stultz case.” Dkt.

   212-1, at 7–9. Both also recorded time for consulting with counsel in the related cases. Id.

   Supinger’s attorneys should not be faulted for spending the time to familiarize themselves with

   the case, but Defendants should not be required to pay this additional expense. Under § 1988, it

   is inappropriate to charge the losing party with the time necessary for replacement counsel to

   reach the level of familiarity with the case for which original counsel had already been

   compensated. See Spell v. McDaniel, 852 F.2d 762, 768 (4th Cir. 1988) (refusing to charge

   losing defendants for time spent by appellate counsel to become familiar with case after appellate

   counsel replaced trial counsel following trial); Personhuballah v. Alcorn, 239 F. Supp. 3d 929,


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     Supinger argues that Ms. Haddox assisted in the appellate argument by helping to prepare for it, but does not
   explain why she also needed to attend even though she herself was not arguing. Dkt. 223, at 18–19.

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   949 (E.D. Va. 2017) (finding new counsel’s expenses in getting up to speed on case duplicative

   after they replaced two attorneys who left on maternity leave) (vacated and remanded on other

   grounds). Here, I do not fault Mr. Grimes and Ms. Haddox for familiarizing themselves with

   Supinger’s case, but I also recognize that Defendants should not have to compensate Supinger’s

   counsel twice for efforts spent on the case before the representation changed—once for

   Supinger’s original counsel, and then again for Supinger’s new counsel. I thus take this

   consideration into account in analyzing duplication of efforts.

           While instances of duplicative billing seem to exist throughout the records, they were not

   as pervasive as the excessiveness, vagueness, and block billing issues. As such, I recommend

   only an additional 5% reduction of hours sought by Supinger for Mr. Grimes and Ms. Haddox.

                           3. Clerical Tasks

           Finally, Defendants argue that most of the paralegal services provided under both sets of

   attorneys were for purely clerical tasks and request that the Court exclude such clerical work

   from the fee award. Dkt. 221, at 19. “[I]n this circuit . . . purely clerical tasks are ordinarily part

   of a law office’s overhead, (which is covered in the hourly rate), [and] they should not be

   compensated for at all.” Brown v. Mountain View Cutters, LLC, 222 F. Supp. 3d 504, 514 (W.D.

   Va. 2016) (quoting Two Men & A Truck/Int’l, Inc. v. Mover, Inc., 128 F. Supp. 3d 919, 929

   (E.D. Va. 2015)); see also Missouri v. Jenkins by Agyei, 491 U.S. 274, 288 n.10 (noting that

   “purely clerical or secretarial tasks should not be billed at a paralegal rate”). Examples of clerical

   tasks include filing documents with the court, issuing summonses, scanning and mailing

   documents, reviewing files for information, printing pleadings, organizing documents, creating

   notebooks or files, assembling binders, emailing documents, and making logistical telephone

   calls. Two Men & A Truck/Int’l, Inc., 128 F. Supp. 3d at 929–30 (citing cases).



                                                      14

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           Here, the billing records for Tracy Mirzayan, paralegal for Mr. Grimes and Ms. Haddox,

   are replete with tasks such as reviewing and organizing files, emailing, preparing binders,

   reviewing dockets, scanning, and printing, among others. Mr. Williams’s paralegal downloaded

   and printed ECF files and sent emails. These types of clerical tasks, billed at the paralegals’

   hourly rates, justify a further 50% reduction in the paralegals’ billable hours. See Brown, 22 F.

   Supp. 3d at 514–15 (reducing the number of hours billed by the paralegal by twenty percent to

   account for clerical tasks).

               iii.    Fees for Original Counsel

           Supinger initially retained Melvin E. Williams and Andrew D. Meyer to represent him in

   this matter. Those attorneys withdrew due to a conflict of interest in January 2016, at which point

   Supinger retained Mr. Grimes and Ms. Haddox. Dkt. 68. Defendants argue that the Court should

   reduce the fee requests for Mr. Williams and Mr. Meyer because their representation only dealt

   with issues that do not share the common core of facts with Supinger’s successful due process

   claim. Dkt. 221, at 20. Defendants specifically object to time spent on Supinger’s challenge to

   the removal of this case to federal court. Id.

           While Mr. Williams and Mr. Meyer’s representation of Supinger was mainly limited to

   the removal and attempt to remand this matter back to state court and to Defendants’ first two

   motions to dismiss, they should not be penalized for initially carrying out representation and then

   withdrawing due to a conflict. At the outset of a case, it is difficult to predict what the litigation

   will entail. It is undeniable that Mr. Williams and Mr. Meyer assisted Supinger in prosecuting his

   case, including defending against Defendants’ motions to dismiss and litigating the proper forum

   in which to bring the case. Additionally, their billing records are far more detailed and do not

   suffer from the same deficiencies that plague Mr. Grimes’s and Ms. Haddox’s. See Dkt. 212-3, at



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   35–52. Thus, I do not find that any reductions are necessary for the hours for Supinger’s original

   counsel.

              iv.     Lodestar Calculation

          It is important to recognize that billing practices in the private sector may differ from

   those acceptable in a § 1983 case, as a fee-shifting statute requires transparency and consistency

   in determining fees to award to a prevailing party. See, e.g., Guidry v. Clare, 442 F. Supp. 2d

   282, 295 (E.D. Va. 2006) (reducing lodestar figure because the submitted fee claims were “too

   inadequately detailed to permit a confident assessment of the reasonableness of the time spent”

   on the case, specifically referencing lumping and block billing). Accordingly, the lodestar

   calculation, with the reductions in the rates and hours for Mr. Grimes and Ms. Haddox, and the

   hours for the paralegals, yields as follows:

                   Name                              Hours                  Rate         Total
        Terry Grimes                   1596.70 – 319.34 (20%) = 1277.36   $350.00     $447,076.00
        Hours for Fee Petition (TG)    78.10 – 15.62 (20%) = 62.48        $350.00     $21,868.00
        Brittany Haddox                377.8 – 75.56 (20%) = 302.24       $225.00     $68,004.00
        Hours for Fee Petition (BH)    11.30 – 2.26 (20%) = 9.04          $225.00     $2,034.00
        Paralegal                      73.9 – 36.95 (50%) = 36.95         $125.00     $4,618.75
        Melvin Williams                83.4                               $350.00     $29,190.00
        Hours for Fee Petition (MW)    10.5                               $350.00     $3,675.00
        Andrew Meyer                   83.05                              $250.00     $20,762.50
        Micah Wright                   59.5                               $225.00     $13,387.50
        Paralegal                      9.4 – 4.7 (50%) = 4.7              $125.00     $587.50
                                                                          TOTAL:      $611,203.25

      B. Hours Spent on Unsuccessful Claims

          After calculating the lodestar fee, the court must determine whether the fee award should

   be reduced to reflect the time counsel spent on unsuccessful claims that are unrelated to the

   successful claims. McAfee v. Boczar, 738 F.3d 81, 88 (4th Cir. 2013). The question is whether

   Supinger’s claims involved a “common core of facts or . . . related legal theories.” Hensley v.

   Eckerhart, 461 U.S. 424, 435 (1983). The Fourth Circuit has repeatedly interpreted related claims


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   to be those that are “inextricably intertwined” with the successful claim. See Abshire v. Walls,

   830 F.2d 1277, 1282 (4th Cir. 1987) (explaining claims based on different legal theories arose

   from a “common core of facts” because they were “inextricably intertwined” in § 1983 case); see

   also Goodwin v. Metts, 973 F.2d 378, 382–83 (4th Cir. 1992) (adopting Abshire analysis in

   § 1988 fee petition case and holding that claims did not arise from a “common core of facts”

   because they were not “inextricably intertwined”); Reed v. Dep’t of Corrections, Va, 2015 WL

   2374193, at *3–*4 (W.D. Va. May 18, 2015) (applying “inextricably intertwined” analysis).

          Defendants contend that a significant percentage of Supinger’s fee request includes time

   spent on issues unrelated to his procedural due process claim, all of which were unsuccessful.

   Dkt. 221, at 4. Specifically, Defendants argue that Supinger’s First Amendment claim or any

   claims related to his termination are not inextricably intertwined with his due process claim, thus

   warranting a reduction in fees awarded. Id. at 13. Supinger contends that, from the time Mr.

   Grimes and Ms. Haddox took on representation, the primary focus and effort was on prosecution

   of the due process claim and the related First Amendment claim, albeit to a lesser extent. Dkt.

   212, at 14. Supinger argues that Defendants are not entitled to a reduction in fees for related

   claims because counsel’s efforts furthered Supinger’s claims and it is permissible to plead

   different theories around a common core of facts. Id. at 14–15.

          The problem Defendants face is that Supinger’s due process claim served as the core of

   his entire case. Defendants claim that “[a]ny work that related to Supinger’s employment” or

   claims related to his termination are not inextricably intertwined with his due process claim and

   so should not be compensated. Dkt. 221, at 13. The deprivation of due process to Supinger arose




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   out of Defendants’ failure to provide a post-termination hearing, as required by LEOPGA.11

   Supinger would not have a procedural due process claim without first being terminated. The due

   process claim is inextricably intertwined with his termination because without the termination,

   there is no due process claim.

           At the motion to dismiss stage, the District Court dismissed seven of Supinger’s original

   fourteen claims in his Amended Complaint (Dkt. 31); Supinger withdrew one; and the District

   Court denied Defendants’ motion to dismiss for the remaining claims (Dkt. 82). Supinger then

   amended his complaint to include six claims: Title VII national origin and racial discrimination;

   Title VII retaliation; violations of right to free speech; violation of procedural due process;

   supervisory liability; and racial discrimination. Dkt. 133, at 25–32. Four of those claims related

   to his termination: Count II – retaliation for participation in a Title VII proceeding; Count III –

   retaliation for protected speech; Count IV – procedural due process violation; and Count V –

   supervisory liability. Id. at 26–31. Defendants cannot dismiss the claims related to Supinger’s

   termination simply because he did not prevail on them. Had Supinger been afforded a post-

   termination hearing, he would have been able to air his various grievances relating to his

   termination in that forum. Moreover, the doctrine established in Carey v. Piphus, 435 U.S. 247

   (1978), which suggests that Supinger’s damages for violation of his procedural due process

   rights may have been limited if he was properly terminated, made relevant the facts and

   circumstances of Supinger’s employment and termination.

           While I do find that the due process claim served as the core of the entire case, I

   recognize that Supinger prevailed on only one of his fourteen original claims. The core set of



   11
      The Law Enforcement Officers Procedural Guarantee Act (LEOPGA), Va. Code §§ 9.1-500, et seq., guarantees
   law enforcement officers certain procedural rights whenever the officer may be dismissed, demoted, suspended, or
   transferred for punitive reasons.

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   facts remains the same when analyzing the due process claim, and thus, how well Supinger fared

   on his other claims is more effectively analyzed under the degree of success framework below.

      C. Degree of Success of Supinger’s Claims

          The final step in determining a reasonable fee award is calculating a percentage of the

   lodestar figure that takes into account the degree of success of a plaintiff’s claims. There is a

   “strong” presumption that the lodestar figure represents a reasonable fee. Perdue v. Kenny A. ex

   rel. Winn, 559 U.S. 542, 552 (2010). The strong presumption for the reasonableness of a lodestar

   fee figure can only rarely be overcome in “extraordinary cases,” which will be presented in the

   “rarest of circumstances.” Id. at 560 (addressing enhancement of lodestar fees). However, when

   a plaintiff achieves only partial or limited success, the lodestar figure may be excessive

   notwithstanding the fact that all claims were “interrelated, nonfrivolous, and raised in good

   faith.” Hensley v. Eckerhart, 461 U.S. 424, 436 (1983). Courts “should focus on the significance

   of the overall relief obtained by the plaintiff in relation to the hours reasonably expended in the

   litigation.” Id. at 435. When a plaintiff’s results have been “excellent,” the award should account

   for “all hours reasonably expended on the litigation,” even if some claims prove unsuccessful;

   alternatively, when a plaintiff “has achieved only partial or limited success,” the court should

   reduce the award to prevent the plaintiff from obtaining “an excessive amount” in comparison to

   his low measure of success. Id. at 436.

          Defendants argue that Supinger’s success was modest. He initially sought reinstatement

   and a total of $11,250,000 in damages (Dkt. 133, at 2), and the settlement agreement obligates

   Defendants to pay backpay, compensatory damages, and other non-monetary contributions for an

   overall value of $174,501.00 (Dkt. 221, at 21). As a result, Supinger only recovered 1.55% of the

   monetary relief he originally demanded, and he was not reinstated. Thus, Defendants argue that



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   the Court should grant a significant downward departure because the attorneys’ fees are

   disproportionate to the amount actually recovered. Supinger argues that he vindicated his rights

   in this litigation even in light of Defendants’ “scorched earth” defense. Dkt. 212, at 10. In

   Supinger’s view, the measure of success is not limited to the amount of damages awarded, but

   instead includes “whether civil rights policies are vindicated and whether important social

   benefits are obtained.” Id. at 11. Supinger argues that his success in this case serves as a deterrent

   to civil rights violations in the future and his “very favorable results” contribute to the “important

   policy of eradicat[ing] retaliation for exercising protected rights.” Id. at 11–12.

          Fee awards under § 1988 should not necessarily be proportionate to the amount of

   damages that a plaintiff actually recovers. City of Riverside v. Rivera, 477 U.S. 561, 574 (1986).

   The amount of damages a plaintiff recovers is relevant to the amount of fees to be awarded, but it

   is “only one of many factors a court should consider in calculating an award of attorneys’ fees.”

   Id. Ultimately, “a reduced fee award is appropriate if the relief, however significant, is limited in

   comparison to the scope of the litigation as a whole.” Hensley, 461 U.S. at 440.

          Supinger is correct in observing that courts applying these principles have recognized the

   importance of plaintiffs vindicating civil rights and being awarded attorneys’ fees to reflect that

   success, even when relief was modest. However, while Supinger did prevail on his procedural

   due process claim, his rather limited victory warrants a downward departure in his fee award.

   The types of cases in which the Fourth Circuit has found that district courts abused their

   discretion in reducing awards for a limited degree of success are those in which a plaintiff, for

   example, “changed the legal landscape” in a particular area and “opened the courthouse doors”

   to claims that courts had previously not permitted. See Doe v. Kidd, 656 Fed. Appx. 643, 657–58

   (4th Cir. 2016) (finding 63% reduction to be an abuse of discretion in case where plaintiff



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   changed the legal landscape under the Medicaid Act by opening the door for plaintiffs to enforce

   rights under Medicaid Act through § 1983). In a § 1988 setting, “[w]here recovery of private

   damages is the purpose of a civil rights litigation, a district court, in fixing fees, is obligated to

   give primary consideration to the amount of damages awarded as compared to the amount

   sought.” McAfee v. Boczar, 738 F.3d 81, 93 (4th Cir. 2013) (quoting Rivera, 477 U.S. at 585

   (Powell, J., concurring)).

           Here, it is true that Supinger prevailed on his procedural due process claim, but his

   victory did not change the legal landscape of the law, nor did it open the doors of the courts to

   previously unavailable avenues. For all of his claims, including those involving civil rights,

   Supinger sought private damages and relief, namely, injunctive relief and reinstatement; $5

   million in compensatory and $5 million in punitive damages; and back pay and front pay. The

   DMV’s failure to provide Supinger with a post-termination hearing applied specifically to

   Supinger’s termination. While he did obtain a victory for civil rights, his success was limited to

   him. The ultimate settlement agreement awarded Supinger compensatory damages, backpay, and

   employee benefits—all relief personal to him—indicating that his victory was viewed as much

   less of a widespread deterrent to future civil rights violations. The Fourth Circuit has noted that

   an award of punitive damages, which serve to punish and deter future violations, reveal when

   deterrence and vindication are important. Id. at 94 (noting that a jury refusing to award punitive

   damages “substantially undermined” the court’s reliance on deterrence and vindication).

   Supinger did not obtain any sort of punitive relief, indicating that too much of a reliance on

   deterrence and vindication would be misplaced.

           Accordingly, the “most critical factor” in determining a reasonable attorneys’ fee under




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   § 1988 is the extent of plaintiff’s success. Hensley, 461 U.S. at 436. Congress intended § 1988

   fee awards to be adequate to attract competent counsel, but also wanted to avoid producing

   windfalls to attorneys. McAfee, 738 F.3d at 92 (citing Rivera, 477 U.S. at 580). In McAfee, the

   Fourth Circuit held that the district court abused its discretion when it permitted a fee award that

   was 109 times the jury verdict in a § 1983 case.12 Id. (noting that the district court’s view of

   plaintiff’s success was erroneous, which was “best illustrated by comparing McAfee’s lofty

   expectations with the jury’s paltry damages award”). While Supinger is certainly not seeking a

   fee award that is 100 times his recovery, the fact that he prevailed on only one claim and

   recovered only 1.55% of his initial demand cannot be ignored.

           Other cases in which courts have reduced fee amounts for limited success are more

   illuminating. The Fourth Circuit held that a district court did not abuse its discretion in reducing

   a fee award by 45% when the plaintiff achieved limited success in a § 1983 case. Prison Legal

   News v. Stolle, 681 Fed. Appx. 182, 185–86 (4th Cir. 2017). The district court weighed the fact

   that both plaintiff and defendants achieved significant success: while defendants avoided paying

   any monetary award, plaintiff was the prevailing party because he succeeded on his due process

   claims, had the potential to recover punitive damages, and obtained permanent injunctive relief.

   Prison Legal News v. Stolle, 129 F. Supp. 3d 390, 405–06 (E.D. Va. 2015). The Fourth Circuit

   recognized that the district court weighed the plaintiff’s tangible and substantial victories while

   also weighing defendant’s success in avoiding any monetary damages. Prison Legal News, 681

   Fed. Appx. at 186. In another case concerning consumer protection, the plaintiff obtained only a

   4% monetary recovery, but the district court noted that requiring direct proportionality for the

   attorneys’ fees award would discourage enforcement of the consumer protection statutes. Denton


   12
     Supinger is asking for almost five times the amount of his recovery of roughly $174,501, based on a fee amount of
   $844,622.50.

                                                           22

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   v. PennyMac Loan Services, LLC, 252 F. Supp. 3d 504, 530 (E.D. Va. 2017). The court reduced

   the lodestar amount by 40% to reflect the plaintiff’s “tangible victory” in succeeding on the

   merits while also taking into account the minimal financial award that plaintiff accepted in light

   of his initial demand. Id. at 530–31. Finally, in a FLSA case, the plaintiffs prevailed under the

   settlement agreement but obtained only 17% of the initial demand. McNeil v. Faneuil, Inc.,

   Action No. 4:15cv81, 2017 WL 9771834, at *11 (E.D. Va. Nov. 8, 2017). The court ultimately

   reduced the award by 10% to account for the limited success of plaintiff’s claims. Id.

             In Supinger’s case, reducing his fee award in strict adherence to the proportionality of his

   recovery would produce an extreme and unfair result. His recovery is just one of many factors to

   consider. It is unmistakable, however, that Supinger’s success on all of his claims was limited.

   The district court dismissed half of the initial claims shortly after Supinger’s present counsel

   came into the case. The balance of the case likewise was dismissed, except for the due process

   claim, at the summary judgment stage. Supinger did obtain summary judgment on the due

   process claim, and prevailed on that issue before the Fourth Circuit. Nevertheless, the

   complexion of the case and the rights Supinger sought to vindicate were much broader in scope

   than his ultimate success in challenging the process he received as he attempted to grieve his

   termination. In light of previous reductions taken, I recommend an additional 20% reduction to

   the entire award. This further reduction brings the total recommended attorneys fee award to

   $488,962.60.

      III.      Costs and Expenses

             Under § 1988, a prevailing plaintiff in a civil rights action is entitled to recover “those

   reasonable out-of-pocket expenses incurred by the attorney which are normally charged to a fee-

   paying client, in the course of providing legal services.” Spell v. McDaniel, 852 F.2d 762, 771



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   (4th Cir. 1988) (quoting Northcross v. Bd. of Educ. of Memphis City Schs., 611 F.2d 624, 639

   (6th Cir. 1979)); see also Daly v. Hill, 790 F.2d 1071, 1083–84 (4th Cir. 1986) (noting that the

   district court should review prevailing civil rights plaintiffs’ expense requests under § 1988,

   which contemplates reimbursement for all reasonable litigation expenses). Supinger seeks

   $3,415.5113 in costs and expenses. Dkt. 213, at 1.

                                        Taxable Costs                                    Amount
                                           Filing Fee                                    $400.00
                  Hart Reporting and Videoconferencing – Anderson Deposition            $1,068.50
                   Hart Reporting and Videoconferencing – Penny Deposition              $1,457.26
                                       In-House Copies                                   $467.25
                        Court Reporter Fee for Motion Hearing (7/12/16)                   $22.50
                                                                                     TOTAL: $3,415.51

            Supinger is entitled to recover those reasonable costs and expenses associated with this

   case that he can establish with a reasonable degree of specificity. Design and Prod. Inc. v. Am.

   Exhibitions, Inc., No. 1:10-cv-899, 2011 WL 6002598, at *3 (E.D. Va. Nov. 30, 2011). The law

   is clear that no litigation costs should be awarded in the absence of adequate documentation.

   Trimper v. City of Norfolk, Va, 58 F.3d 68, 77 (4th Cir. 1995) (affirming a district court’s

   holding that “an unverified ‘Chart of Expenses,’ with no receipts or bills attached,” was

   insufficient documentation to award costs).

            Defendants argue that the documentation for the in-house copies is not adequate to

   determine if the copies were reasonably necessary. Additionally, Defendants believe the costs for

   the deposition transcripts of William Anderson and Thomas Penny are excessive because David

   Stultz required that the depositions be videotaped, and Supinger has provided no documentation

   explaining why videotaping was necessary. Defendants do not object to the filing or court

   reporter fees.

   13
     There is a discrepancy in Supinger’s filings regarding the amount of costs he attempts to recover. His Bill of Costs
   (Dkt. 213) requests $3,415.51, while his Memorandum in Support of his Motion for Award of Attorneys’ Fees and
   Costs (Dkt. 212, at 19) requests $3,536.26. I accept the figure in the Bill of Costs because it includes Supinger’s
   proof for the expenditures.

                                                            24

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            Regarding the copying charges, it is difficult for the Court to determine the

   reasonableness of Supingers’s charges because the monthly invoices do not provide the price

   per copy. Rather, the invoices simply list the client, user ID, and account limit in addition to the

   “total impressions.”14 See, e.g., Adkins v. Crown Auto, Inc., 4:04 CV 00042, 2005 WL 2563028,

   at *5 (W.D. Va. Oct. 11, 2005) (itemized list of copies that included date, the documents copied,

   the number of copies made per day, and the charge per copy is sufficient documentation to

   support recovery of copying charges).

            This Court has ruled, consistent with prior decisions, that copy charges of ten cents per

   page is reasonable for purposes of taxation of costs under 28 U.S.C. § 1920. Elderberry of Weber

   City, LLC v. Living Centers-Southeast, Inc., No. 6:12–cv–00052, 2014 WL 3900389, at *6, *17

   (W.D. Va. Aug. 11, 2014); McAirlaids, Inc. v. Kimberly-Clark Corp., Civ. Action No. 7:12-cv-

   578, 2014 WL 495748, at *12 (W.D. Va. Feb. 6, 2014). Supinger did not give the Court a reason

   to deviate from that finding in this action, nor did he identify whether his copying costs were

   more than ten cents per page. Supinger also did not provide documentation that reflects actual

   monetary amounts. Thus, given the Court’s prior experience, and applying a copying charge of

   ten cents per page, I find a total copying charge of $186.90, which would allow for copying

   1,869 pages,15 to be reasonable. I recommend that Supinger’s expenses for copies be reduced by

   $280.35 to a total of $186.90.

            Defendants also object to the costs for videotaping two depositions, although the

   submitted invoices appear to show that Supinger seeks costs only for the deposition transcripts.



   14
      The invoices provide that “Impressions” refers to the number of sides copied. For example, for a two-page job
   with two-sided printing, the number of impressions would be two. Dkt. 213-3.
   15
      Supinger’s records provide that the overall total number of “impressions” is 1,869 (based on four entries of 1,749,
   36, 32, and 52). Dkt. 213-3. I assume that the copies were printed single-sided, meaning the total impressions
   amount would also be 1,869.

                                                            25

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   Dkts. 213-1, 213-2. Videography fees for depositions are available only if “necessarily obtained

   for use in the case.” Cherry v. Champion Intern. Corp., 186 F.3d 442, 449 (quoting 28 U.S.C.

   § 1920(2)) (internal quotations omitted). The “concept of necessity for use in the case connotes

   something more than convenience or duplication to ensure alternative methods for presenting

   materials at trial.” Id. (citation omitted). Courts consider videotaped depositions as necessary for

   use at trial when the witnesses are beyond the court’s subpoena power and there is no assurance

   that the witnesses will attend the trial. Hanwha Azdel, Inc. v. C & D Zodiac, Inc., Civil Action

   No. 6:12–CV–00023, 2015 WL 1417058, at *5 (W.D. Va. Mar. 27, 2015). If the videotaping

   costs were not necessarily obtained for use in the case, transcription costs are still recoverable.

   Cherry, 186 F.3d at 449.

              The submitted invoice for the Anderson deposition appears to show that Supinger seeks

   costs only for that deposition transcript. See Dkt. 213-1. Supinger does not attempt to recover the

   additional cost associated with videotaping that deposition, and because the copying costs for

   that transcript seem reasonable,16 I recommend awarding $1,068.50 for the Anderson deposition.

   For the Penny deposition, however, the submitted invoice appears to charge for a copy of the

   deposition video, in addition to copies of the exhibits. See Dkt. 213-2. Supinger has not met his

   burden, and has not even attempted, to demonstrate why a videotape of the Penny deposition was

   necessary for use in this case. Thus, I recommend reimbursing for the Penny deposition at the

   same per page rate of $2.50 as allowed in the Anderson deposition. Supinger was also charged

   $42.76 as a penalty on that charge for an unpaid balance. Id. I do not find it reasonable to charge

   Defendants for Plaintiff’s failure to pay his balance on time. Accordingly, I recommend

   awarding $1,027.00 for the Penny deposition, which excludes the video copy and the late


   16
        The cost per page for the Anderson deposition transcript was $2.50 (based on $842.50 for 337 pages). Dkt. 213-1.


                                                             26

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   penalty, but includes $847.50 for the deposition transcript, $169.50 for copies of the exhibits,

   and the shipping cost of $10.00.

           I find that certain expenses are reasonable in amount and reasonably incurred and I

   recommend a total award of $2,704.90 for litigation costs.

                                      RECOMMENDED DISPOSITION

           This case and its companion cases were no doubt contentious, requiring extensive

   discovery and numerous motions. Additionally, Defendants battled Plaintiff at every step of the

   litigation, which drove up the fees that Supinger incurred. Nonetheless, having reviewed this

   attorneys’ fee petition, I find that the rates charged should be reduced considering the relevant

   community; that the hours billed included excessive, vague, and duplicative time entries; and

   that the fees incurred were disproportionate to the results obtained. I thus recommend a fee

   award of $488,962.60, and a costs award for $2,704.90, for a sum total of $491,667.50.17

           The Clerk is directed to transmit the record in this case to Norman K. Moon, United

   States District Judge, and to provide copies of this Report and Recommendation to counsel of

   record. Both sides are reminded that pursuant to Rule 72(b), they are entitled to note any

   objections to this Report and Recommendation, which must be filed within 14 days hereof. Any

   adjudication of fact or conclusion of law rendered herein by me that is not specifically objected

   to within the period prescribed by law may become conclusive upon the parties. Failure to file

   specific objections pursuant to 28 U.S.C. § 636(b)(1)(C) as to factual recitations or findings as

   well as to the conclusion reached by me may be construed by any reviewing court as a waiver of

   such objection, including a waiver of the right to appeal.



   17
     I anticipate an objection from Defendants regarding my not taking into consideration Wootten v. Commonwealth
   of Virginia, 6:14-cv-13. However, because the merits of that case are currently on appeal to the Fourth Circuit, it
   would be inappropriate to rely on a fee petition that is currently stayed pending the outcome of the appeal.

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                                             Entered: March 4, 2019


                                             Robert S. Ballou
                                             Robert S. Ballou
                                             United States Magistrate Judge




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